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                    IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TEXAS
                            BEAUMONT DIVISION

UNITED STATES OF AMERICA                     §
                                             §
v.                                           §   No. 1:20-CR-55(6)
                                             §
TANNER JOHN JORGENSEN                        §


                       MOTION FOR DETENTION HEARING

       COMES NOW the United States and asks this Honorable Court to set the instant

case for detention hearing under Title 18, United States Code, section 3141, et. seq., and

would show the Court the following:

       1. The pending case involves:

       [ ]    (A)    A crime of violence.

       [ ]    (B)    An offense for which the maximum sentence is life imprisonment or
                     death.

       [X]    (C)    An offense for which a maximum term of imprisonment of ten years
                     or more is prescribed in the Controlled Substances Act, the
                     Controlled Substances Import and Export Act or Title 21, United
                     States Code, section 955(a).

       [ ]    (D)    A felony committed after the Defendant had been convicted of two
                     or more prior offenses described in Title 18, United States Code,
                     section 3142(f)(1)(A)(C) or comparable state or local offenses.

       [X]    (E)    A serious risk that the Defendant will flee.

       [ ]    (F)    A serious risk that the person will obstruct or attempt to obstruct
                     justice, or attempt to threaten, injure or intimidate a prospective
                     witness or juror.
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     [ ]   (G)    The person was on release pending trial for a felony under State,
                  Federal or Local law; or was on probation or parole for an offense
                  under State, Federal or Local law.

     [ ]   (H)    A felony that involves a minor victim.

     [ ]   (I)    A felony that involves the possession or use of a firearm or
                  destructive device or any dangerous weapon.

     [ ]   (J)    A felony that involves the failure to register under Title United
                  States Code, Section 2250.

     2.    No condition or combination of conditions will:

     [X]   (A)    Reasonably assure the appearance of the person as required.

     [X]   (B)    Reasonably assure the safety of the community or any other person.


     The Government requests that the Defendant be held without bond.


                                       Respectfully submitted,

                                       STEPHEN J. COX
                                       UNITED STATES ATTORNEY


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